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19                                 UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
21    RESOURCE RENEWAL INSTITUTE;                  Case No. 3:22-cv-145-MMC
      CENTER FOR BIOLOGICAL
22    DIVERSITY; and WESTERN                       DEFENDANT’S RESPONSE TO
      WATERSHEDS PROJECT,                          MOTION TO INTERVENE BY
23                                                 POINT REYES SEASHORE
                     Plaintiffs,                   RANCHERS ASSOCIATION
24
                v.                                 Hearing Date: May 27, 2022
25
      NATIONAL PARK SERVICE, a federal             Time: 9:00 am
26    agency,
                                                   Place: Courtroom 7, 19th Floor
27                   Defendant.
                                                   Judge: Honorable Maxine M. Chesney
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            Defendant provides notice that it takes no position in regard to the motion to intervene
 1
     filed by the Point Reyes Seashore Ranchers Association, ECF No. 30.
 2

 3   Dated: May 4, 2022                           Respectfully submitted,
 4
                                                  TODD KIM
 5                                                United States Department of Justice
                                                  Assistant Attorney General
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                                                  /s/ David L. Negri
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